-Case 2:04-cv-02863-.]DB-dkv Document 17 Filed 07/29/05 Page 1 of 2 Page|D 9

 

IN THE UNITED STATES DISTRICT COURT h|_ED BY M__ ___‘_ b.l`§.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIvISIoN 05 JUL 29 ppg 3: 149
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JERRICA PoRTER, G.E%U.S. l§'\~|>Tk§?%f§? CO\JHT
by mother, Jeannette Porter w C'¥ ’H» ""~EMH'"S
Plaiotiff,
vs CIVIL ACTION NO: 04-2863“mo.V
JO ANNE B. BARNHART,
COMMISSIONER OF
SOCIAL SECURITY
Defendant.

 

ORDER GRANTING ADDITIONAL TIME TO FILE BRIEF

 

COMES NOW the Plaintiff, who has requested the Court for a Continuance By Motion
Which this Court has acceptedl

WHEREFORE, PREMISES CONSIDERED

l. The Court finds that a continuance be granted

2. The Court finds that Plaintif`f`s brief shall be filed on or before Septernber 5, 2005.

/<OJW `1/ /Q/MA//

JUDGE

Th!s document entered on the docket ?eetin <Vmpllance
with mile 58 motor 79(€1} F’RCP on f §§ 7

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Notice of Distribution

This notice confirms a copy of`the document docketed as number 17 in
case 2:04-CV-02863 Was distributed by f`aX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

